                                  Case 18-10395-KJC                  Doc 1        Filed 02/26/18           Page 1 of 11

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jet Midwest Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1105 N. Market Street                                           5901 W. Century Blvd.
                                  Suite 1300                                                      Suite 1410
                                  Wilmington, DE 19801                                            Los Angeles, CA 90045
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Castle                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  9200 NW 112th Street Kansas City, MO 64153
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jetmidwestgroup.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-10395-KJC                 Doc 1         Filed 02/26/18              Page 2 of 11
Debtor    Jet Midwest Group, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 18-10395-KJC                      Doc 1        Filed 02/26/18              Page 3 of 11
Debtor   Jet Midwest Group, LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 18-10395-KJC                   Doc 1        Filed 02/26/18             Page 4 of 11
Debtor    Jet Midwest Group, LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 26, 2018
                                                  MM / DD / YYYY


                             X   /s/ Karen Kraus                                                          Karen Kraus
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Operating Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date February 26, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christopher A. Ward 3877
                                 Printed name

                                 Polsinelli
                                 Firm name

                                 222 Delaware Ave.
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Case 18-10395-KJC   Doc 1   Filed 02/26/18   Page 5 of 11
Case 18-10395-KJC   Doc 1   Filed 02/26/18   Page 6 of 11
                                     Case 18-10395-KJC                        Doc 1        Filed 02/26/18            Page 7 of 11




 Fill in this information to identify the case:

 Debtor name         Jet Midwest Group, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 26, 2018                       X /s/ Karen Kraus
                                                                       Signature of individual signing on behalf of debtor

                                                                       Karen Kraus
                                                                       Printed name

                                                                       Chief Operating Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                          Case 18-10395-KJC                    Doc 1         Filed 02/26/18                Page 8 of 11


 Fill in this information to identify the case:
 Debtor name Jet Midwest Group, LLC
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Advanced Discovery                                              Trade                                                                                                  $162,573.00
 PO Box 102242
 Atlanta, GA
 30368-2242
 Airline                                                         Debt                                                                                                     $87,494.00
 Consolidation
 Group, LLC
 PO Box 3797
 Redondo Beach, CA
 90277
 Alaska Air Visa                                                 Debt                                                                                                     $41,380.00
 Business Card
 PO Box 15796
 Wilmington, DE
 19886-5796
 Aviation Technical                                              Trade                                                                                                  $180,000.00
 Company, Ltd.
 c/o He Yigon
 1523 Prince's Bldg.
 10 Charter Road
 Central Hong Kong,
 China
 City of Los Angeles                                             Taxes                                                                                                      $1,569.79
 225 North Hill Street,
 Room 122
 PO Box 514818
 Los Angeles, CA
 90051
 DeBedin & Lee LLP                                               Professional Fees                                                                                        $24,029.96
 2702, 27/F, The
 Centrium
 60 Wyndham St.
 Central Hong Kong,
 China




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                          Case 18-10395-KJC                    Doc 1         Filed 02/26/18                Page 9 of 11


 Debtor    Jet Midwest Group, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jet Midwest Global,                                             Debt                                                                                                     $21,270.00
 LLC
 1105 N. Market
 Street
 Suite 1300
 Wilmington, DE
 19801
 Jet Midwest                                                     Debt                                                                                                     $65,070.00
 Technik, Inc.
 9200 NW 112th
 Street
 Kansas City, MO
 64153
 Kulowiec &                                                      Professional Fees                                                                                      $473,500.00
 Jorquera
 65 Autumn Ridge
 Road
 Pound Ridge, NY
 10576
 Loeffler Corozza                                                Personal Loan                                                                                          $172,400.00
 6100 College Blvd.
 Overland Park, KS
 66211
 Mojave Jet, LLC                                                 Debt                                                                                                   $485,970.72
 2432 Fly Road
 Nolensville, TN
 37135
 Paradigm Vision,                                                Personal Loan                                                                                          $762,000.00
 LLC
 1105 N. Market
 Street
 Suite 1300
 Wilmington, DE
 19801
 PMC Aviation                                                    Pending Litigation Contingent                                                                                    $0.00
 2012-1, LLC                                                                        Unliquidated
 2711 Centerville                                                                   Disputed
 Road
 Suite 400
 Wilmington, DE
 19808
 World Fuel Services                                             Debt                                                                                                     $85,302.84
 Corporation
 2458 Paysphere
 Circle
 Chicago, IL
 60674-0024




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                    Case 18-10395-KJC                     Doc 1       Filed 02/26/18              Page 10 of 11

                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Jet Midwest Group, LLC                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Karen Kraus                                                                          99%



 Paul Kraus                                                                           1%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Operating Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date February 26, 2018                                                      Signature /s/ Karen Kraus
                                                                                            Karen Kraus

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                    Case 18-10395-KJC                   Doc 1      Filed 02/26/18        Page 11 of 11




                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Jet Midwest Group, LLC                                                                         Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Jet Midwest Group, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Karen Kraus




    None [Check if applicable]




 February 26, 2018                                                   /s/ Christopher A. Ward
 Date                                                                Christopher A. Ward 3877
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Jet Midwest Group, LLC
                                                                     Polsinelli
                                                                     222 Delaware Ave.
                                                                     Suite 1101
                                                                     Wilmington, DE 19801
                                                                     (302) 252-0920 Fax:(302) 252-0921
                                                                     cward@polsinelli.com




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
